Case: 4:22-cv-00140-MTS              Doc. #: 173 Filed: 10/18/24         Page: 1 of 45 PageID #:
                                               16886



                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

SHAWN M. PERRY, et al.,                               )
                                                      )
               Plaintiffs,                            )
                                                      )
         vs.                                          )          Case No. 4:22-cv-140-MTS
                                                      )
ST. LOUIS COUNTY, et al.,                             )
                                                      )
               Defendants.                            )

                                   MEMORANDUM AND ORDER

          Before the Court are Defendants Robert Rinck, Ed Fingers, James “Mitch” Ellis, 1

Brittany Klein, Marcellus Speight (collectively, “Individual Defendants”), and St. Louis County

(together, “Defendants”)’s Motion for Summary Judgment, Doc. [76], Defendants’ Motion to

Strike Plaintiffs’ Affidavits, Doc. [143], and Plaintiffs Shawn Perry (“Plaintiff”) and co-

Plaintiffs, minor children B.M.S. and B.D.S. (together, “Plaintiffs”)’s Second Motion to Appoint

an Attorney ad Litem, Doc. [151]. For the reasons that follow, the Court will grant in part and

deny in part Defendants’ Motion for Summary Judgment. In addition, the Court will deny

Defendants’ Motion to Strike and will deny Plaintiffs’ Second Motion to Appoint an Attorney ad

Litem as moot.

          This section 1983 action arises from an investigation of Plaintiffs’ home by the St. Louis

County Problem Properties Unit (“PPU”).             Doc. [19].    Under the operative complaint as

impacted by this Court’s order granting and denying Defendants’ Motion to Dismiss, compare

Doc. [19], with Doc. [36], there are twelve remaining counts against four St. Louis County

Police officers, the chief building inspector for the Department of Public Works, and St. Louis



1
    Defendant James Ellis has since deceased. See Doc. [70].
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Case: 4:22-cv-00140-MTS            Doc. #: 173 Filed: 10/18/24            Page: 2 of 45 PageID #:
                                             16887



County alleging violations of Plaintiffs’ Fourth and Fourteenth Amendment rights.                 More

specifically, Plaintiffs assert that officers searched their home without voluntary consent

(Count I), imposed an immediate order to vacate their home (Count XV), prohibited Plaintiffs

from entering their home for a weeks-long period (Counts II and IV), and removed co-Plaintiffs

B.M.S. and B.D.S. from Plaintiff’s care (Counts IX and XI), all in violation of their Fourth

Amendment rights. Additionally, Plaintiffs assert that the Defendant officers violated their

Fourteenth Amendment rights when they removed B.M.S. and B.D.S. “without legal justification

and/or due process.” (Counts VIII, X, and XII). Further, Plaintiffs bring a claim for failure to

supervise, train, or discipline against the chief building inspector in his individual capacity

(Count XVI), as well as municipal-liability claims against St. Louis County asserting an

unconstitutional pattern, practice, or custom (Count XIV), and a failure to train, supervise, or

discipline (Count XIII), all pursuant to 42 U.S.C. § 1983. Against the Individual Defendants,

Plaintiffs seek an award of compensatory and punitive damages together with attorneys’ fees,

expenses, and costs under § 1983 and 42 U.S.C. § 1988. Additionally, Plaintiff seeks an award

of compensatory damages, attorneys’ fees, expenses and costs against Defendant St. Louis

County. Doc. [19].

        I.     Factual Background 2

        On June 8, 2017, Defendant Robert Rinck, a St. Louis County police officer (“Officer

Rinck”), and Phil Jones, a St. Louis County Problem Properties Unit Inspector (“Inspector

Jones”), arrived at Plaintiff’s home located within the Village of Hanley Hills. Doc. [128] ¶ 1.

Earlier that day, Village officials asked Officer Rinck to investigate the property. Their request,

as reflected in an email sent on behalf of the Acting Village Chairperson, questioned whether the

2
  Unless otherwise stated, the following facts are properly supported and undisputed pursuant to Rule 56
of the Federal Rules of Civil Procedure and Rule 4.01(E) of the Local Rules. If genuinely disputed, the
facts are viewed in a light most favorable to Plaintiffs.
                                                   2
Case: 4:22-cv-00140-MTS           Doc. #: 173 Filed: 10/18/24           Page: 3 of 45 PageID #:
                                            16888



home was safe or posed a “health hazard” and alleged that vehicles parked outside and used for

storage “pose[d] a safety and health issue.” Doc. [128] ¶ 2; Doc. [83-1]. Soon after Officer

Rinck and Inspector Jones arrived, Plaintiff returned home with her domestic partner, Brian

Shigemura (“Mr. Shigemura”), and her two minor children, co-Plaintiffs B.M.S. and B.D.S.

Doc. [128] ¶ 5. Officer Rinck and Inspector Jones informed Mr. Shigemura, the homeowner,

that they were there to inspect the property due to the condition of the home’s exterior as well as

the derelict vehicles stored on the premises. They also wanted to inspect inside the home. Doc.

[128] ¶ 7. Mr. Shigemura refused to allow Inspector Jones and Officer Rinck inside without a

warrant. Doc. [83-5] at 35, Doc. [127-2] ¶ 5. Officer Rinck called for additional police backup

and was eventually joined by Defendants Brittany Klein (“Officer Klein”), James Ellis (“Officer

Ellis”), and Ed Fingers (“Officer Fingers”). Doc. [128] ¶ 24.

       The parties dispute what happened next. According to Plaintiff, the ensuing conversation

lasted for well over an hour and became steadily more aggressive. Doc. [84-4] at 57–58. During

the back-and-forth, Officer Rinck spoke with Plaintiff both privately and alongside Mr.

Shigemura. Id. at 57. He repeatedly asked for permission to enter the home, and both Plaintiff

and Mr. Shigemura refused each time. Id. at 57–58. Officer Rinck became angry, warning that

he would get a warrant if he needed to do so, but it would make matters much worse for them.

Doc. [127-2] ¶ 6. He informed Plaintiff of an outstanding arrest warrant and warned Plaintiff

that, if she did not comply, he would arrest her, adding “I don’t want to arrest you in front of

your kids.” Doc. [83-4] at 51. Plaintiff testified: “it was well over an hour that he kept insisting,

and then he told me that if I didn’t let him in, that I would never see my kids again.” In response

Plaintiff said, “I guess I don’t have any other choice” and allowed both Officer Rinck and




                                                 3
Case: 4:22-cv-00140-MTS              Doc. #: 173 Filed: 10/18/24               Page: 4 of 45 PageID #:
                                               16889



Inspector Jones inside to conduct their investigation. 3 Id. at 58. Officer Ellis also entered the

home after Officer Rinck informed him that the officers had permission to go in. Doc. [128]

¶¶ 28–29.

        The parties dispute what the officers saw inside. Two documents in the record describe

the condition of Plaintiffs’ home: (1) a police report submitted by Officer Ellis, Doc. [83-6], and

(2) an order to vacate that lists Inspector Jones as its author, Doc. [83-11]. Plaintiffs assert that

those documents’ descriptions are inaccurate or are otherwise exaggerated to justify the officers’

conduct that day. Doc. [128] ¶¶ 30–32; Doc. [127-2] ¶ 42. Indeed, Plaintiffs assert that both the

police report and order to vacate were prepared at Officer Rinck’s direction such that neither

Officer Ellis nor Inspector Jones exercised independent judgment when completing them. See

Doc. [128] ¶¶ 28, 33. 4 Photographs of the home’s interior, 5 however, confirm the following

statements in the police report:

        The living room was almost completely covered with debris stacked up
        approximately five foot high, making most of the living room inaccessible . . .
        The kitchen was also full of boxes, but the stove and sink were accessible.
        However, the stove and sink were piled high with dirty dishes and open food . . .
        There was brown liquid dripping onto the washer and dryer . . . [The children’s
        bedroom contained] debris consisting of dirty clothes . . . tubs, boxes and toys.




3
  Officer Rinck denies using such tactics. Doc. [127-10] at 302.
4
  Plaintiffs support these allegations with the following testimony: Inspector Jones’ statement that, while
at Plaintiffs’ property, “[he] was going with what he was being told” by Officer Rinck, Doc. [127-1] at
76; and Officer Ellis’ statement to his supervisor that Officer Rinck “walked him [through] as to what
[Officer Rinck] wanted him to do and how to handle the investigation,” Doc. [83-13] at 48.
5
  Plaintiffs object to the photographs and assert that they are inadmissible evidence for purposes of
summary judgment because they constitute hearsay and lack foundation. These objections lack merit.
First, images are not statements and, thus, are not hearsay. See United States v. Turner, 934 F.3d 794, 798
(8th Cir. 2019) (citing Fed. R. Evid. 801(a), 801(c)). Second, “the standard [on summary judgment] is
not whether the evidence . . . would be admissible at trial—it is whether it could be presented at trial in an
admissible form.” Gannon Int’l, Ltd. v. Blocker, 684 F.3d 785, 793 (8th Cir. 2010). The Court is
convinced that, if called at trial, either Officer Rinck or Inspector Jones could lay the proper foundation.
Cf. Schmidt v. City of Bella Villa, 557 F.3d 564, 569 (8th Cir. 2009) (explaining that a photograph is
admissible if it is “an accurate representation of the thing depicted as it appeared at the relevant time”).
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Case: 4:22-cv-00140-MTS           Doc. #: 173 Filed: 10/18/24            Page: 5 of 45 PageID #:
                                            16890



Compare Doc. [83-6] at 5–6, with Doc. [83-7]. In addition, at least one child’s bed was “too

full” of toys, clothing, and boxes “for anyone to sleep in.” Compare Doc. [83-6] at 6, with Doc.

[83-7]. The police report also states that “the cluttered condition of the home was such that, in

the event of an emergency, the occupants would have a difficult time exiting the home. Also,

first responders would have difficulty entering. The conditions were also unsanitary and posed a

danger to the health of those living there.” Doc. [83-6]. Photographs also confirm the following

statements made in the order to vacate: “[t]he home currently has plumbing leaks . . . [a]

dismantled water heater, furnace, and electric panel . . . [and] currently has a leak at the main

stack with [brown-colored residue] 6 on the basement floor.” Compare Doc. [83-11], with Doc.

[83-7].

          The order goes on to state that “the above structure has been found to be unsafe . . .

contain unsafe equipment . . . be unfit for human use and occupancy . . . and/or be unlawfully

occupied . . . and [the residents are] ordered to vacate this structure by 6/8/2017, and not to

reoccupy without the approval of the Code Official.” Doc. [83-11]. Again, Plaintiffs assert,

based on an excerpt of Inspector Jones’ testimony, 7 that Jones summarily prepared and issued

the order to vacate on Officer Rinck’s orders. Doc. [128] ¶ 44 Response. Defendants counter

that Inspector Jones followed standard procedures and issued the order only after reporting the

conditions of the property to Department of Public Works officials—namely by sending the

violations and property photographs via email or by conferring on the phone—and receiving

approval from Defendant Marcellus Speight, Chief Building Inspector for the Department of

Public Works (“Chief Inspector Speight”). Doc. [128] ¶ 48. Evidence in the record indicates

6
  The Order identifies the substance as “raw sewage.” Doc. [83-11]. Plaintiff denies that it was. Doc.
[127-2] ¶ 42.
7
  Inspector Jones testified that he would “go with the flow” when working with Officer Rinck and that,
while at Plaintiff’s home, “[Jones] was going with what [he] was being told [by Officer Rinck].” Doc.
[127-13] at 73–75.
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Case: 4:22-cv-00140-MTS             Doc. #: 173 Filed: 10/18/24              Page: 6 of 45 PageID #:
                                              16891



that, on June 8, 2017, Chief Inspector Speight and other department officials received an email

from Officer Rinck that afternoon with a copy of the order to vacate and various photographs

from the inspection attached.        Doc. [145-1].       Ultimately, a notification placard signed by

Inspector Jones was placed on the home stating that it was “condemned for human occupancy

and use” and that the premises must be vacated immediately. Doc. [128] ¶ 43; Doc. [83-12].

        Following the home inspection, one of the officers 8 called a hotline number administered

by the Department of Social Services Children’s Division (“Children’s Division”) and reported a

concern for the welfare of the co-Plaintiffs, minor children B.M.S. and B.D.S. Doc. [83-6] at 6.

Although Plaintiff notified all the officers at the scene that a family member was on her way to

pick up and care for the children, Doc. [127-2] ¶ 14, B.M.S. and B.D.S. were taken into

protective custody first by Officer Klein, then by Officer Ellis, and ultimately by the Children’s

Division, Doc. [128] ¶¶ 53–54. 9 Additionally, Officer Ellis placed Mr. Shigemura and Plaintiff

under arrest for endangering the welfare of a child in the first degree. 10 Id. They were booked

on those charges but held on their respective outstanding traffic warrants. Doc. [128] ¶ 50.

Plaintiff and Mr. Shigemura posted bail and were released from jail later that night. Id. at ¶¶ 73,

74.

        The next day, Plaintiff met with a Children’s Division caseworker, Whitney Johnson

(“Ms. Johnson,” formerly Wellington, Doc. [127-16]), to answer questions concerning B.M.S.

and B.D.S. and the conditions of their home. Doc. [127-5] at 4. Ms. Johnson informed Plaintiff

8
  The police report states that the call was placed by Officer Klein. Doc. [83-6] at 6. However, Officer
Rinck remembers calling the hotline, himself. Doc. [83-2] at 145.
9
   A Family Court hearing took place on June 13, 2017. There, the Family Court Commissioner agreed
with the recommendation of the Children’s Division that B.M.S. and B.D.S. remain in state custody.
Doc. [128] ¶ 104.
10
   Plaintiff asserts that these arrests were made solely on the orders of Officer Rinck. Doc. [128] ¶ 50. In
Missouri, a person is guilty of endangering the welfare of a child in the first degree if he or she, in
relevant part, “knowingly acts in a manner that creates a substantial risk to the life, body, or health of a
child less than seventeen years of age.” Mo. Rev. Stat. § 568.045.
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Case: 4:22-cv-00140-MTS           Doc. #: 173 Filed: 10/18/24            Page: 7 of 45 PageID #:
                                            16892



that the Children’s Division would need to conduct a walkthrough of her property, and Plaintiff

allowed Ms. Johnson inside to look around that same morning. Doc. [128] ¶ 79. Sometime

during that walkthrough, Officer Fingers arrived on the property accompanied by a crime-scene

van. Doc. [128] ¶ 92; Doc. [83-4] at 108–09. He informed Plaintiff and Mr. Shigemura that

investigators needed to go inside the home to take photographs. Id. Mr. Shigemura refused.

Doc. [83-5] at 50. In response, Officer Fingers stated that the Underhill property was “sealed”

and that, until they allowed investigators to photograph the home’s interior, neither Plaintiff nor

Mr. Shigemura could enter for any reason. Doc. [172-2] ¶ 22; Doc. [128] ¶ 92. Officer Rinck

repeated this warning on June 21, 2017, reaffirming that, until Plaintiff and Mr. Shigemura

allowed investigators to take photographs, they could not enter the home without being subject to

immediate arrest. Doc. [127-2] ¶¶ 23–26.

       On June 28, 2017, Plaintiff contacted Officer Rinck’s direct supervisor, Sergeant Charlie

Rodriguez (“Sgt. Rodriguez”). Id. ¶ 33. She informed him of the search of her property, the

removal of her children, and the standing order not to reenter her home. Id. Sgt. Rodriguez

advised Plaintiff that St. Louis County policy allowed individuals subject to an order to vacate to

re-enter their properties during daylight hours to gather personal belongings and abate the

enumerated violations. Id. ¶ 34; see Doc. [128-2] at 96. He assured Plaintiff that she would not

be arrested if she went back inside during the permissible timeframe. Id. ¶ 39. With that

reassurance, Plaintiff reentered her home on June 30, 2017. Id. ¶ 40–41. Co-Plaintiffs B.M.S.

and B.D.S. returned to Plaintiff’s custody on or about July 16, 2017. Doc. [83-4] at 134.

       II.     Motion to Strike

       Defendants move to strike, in their entirety, three affidavits that Plaintiffs filed to support

their Additional Statement of Uncontroverted Material Facts. Doc. [143]. Defendants object to


                                                 7
Case: 4:22-cv-00140-MTS          Doc. #: 173 Filed: 10/18/24           Page: 8 of 45 PageID #:
                                           16893



the affidavit of Jerome Dobson, Doc. [127-16], because: (1) it is not made with “personal

knowledge of the facts in this case;” (2) its use is “self-serving, and its purpose is to create an

issue of fact where there is none;” and (3) Plaintiffs never disclosed Mr. Dobson as a witness

pursuant to Federal Rule of Civil Procedure 26. Doc. [143] ¶¶ 6–8. Additionally, Defendants

move to strike the affidavit of Ms. Johnson since it allegedly contradicts previous sworn

statements she made in a Missouri Department of Social Services report, and “Plaintiffs are

attempting to create an issue of fact to survive summary judgment.” Id. at ¶¶ 9–12. Lastly,

Defendants move to strike the affidavit of Michael Cross (“Mr. Cross”) because it contains

hearsay and self-serving statements. Id. ¶¶ 13–16.

       Defendants move to strike pursuant to Federal Rule of Civil Procedure 56(e). Doc. [141-

4] at 2 (under seal). However, Rule 56 was amended in 2010, and that amendment introduced

subdivision (c), “establish[ing] a common procedure for several aspects of summary-judgment

motions.” Fed. R. Civ. P. 56 advisory committee’s note to 2010 amendment. Rule 56(c)(2)

provides that “[a] party may object that the material cited to support or dispute a fact cannot be

presented in a form that would be admissible in evidence.” Fed. R. Civ. P. 56(c)(2). And the

advisory committee explains that “[t]he objection functions much as an objection at trial,

adjusted for the pretrial setting.” Fed. R. Civ. P. 56 advisory committee’s note to 2010

amendment. Additionally, “[t]here is no need to make a separate motion to strike.” Id.

       Therefore, the Court will deny Defendants’ Motion to Strike, but it will consider the

arguments raised in the motion as properly submitted objections to the affidavits. See Hagen v.

Siouxland Obstetrics & Gynecology, P.C., 934 F. Supp. 2d 1026, 1042–43 (N.D. Iowa 2013)

(denying defendants motion to strike as procedurally improper but duly considering the

objections raised for purposes of summary judgment); see also Thermo Fischer Sci., Inc. v.


                                                8
Case: 4:22-cv-00140-MTS            Doc. #: 173 Filed: 10/18/24            Page: 9 of 45 PageID #:
                                             16894



Arthur, 4:23-cv-1098-JSD, 2023 WL 6653869, at *1 (E.D. Mo. Oct. 12, 2023) (“The

Declarations which Plaintiff seeks to strike are not pleadings as contemplated by . . . Rule 7(a),

and therefore, the Motion to Strike is improper under Rule 12(f).”); and see Baker v. Union Pac.

R.R. Co., 8:20-cv-315, 2022 WL 4132087, at *2 (D. Neb. Sept. 12, 2022) (“Rule 12(f) does not

provide a basis for striking filings, motions, or exhibits that are not pleadings.”).

       As relevant to the objections Defendants raise, “[a] declaration used to oppose a motion

‘must be made on personal knowledge, set out facts that would be admissible in evidence, and

show that the [declarant] is competent to testify on the matters stated.’” Jain v. CVS Pharmacy,

Inc., 779 F.3d 753, 758 (8th Cir. 2015) (quoting Fed. R. Civ. P. 56(c)(4). An affidavit that “does

not satisfy these requirements may be stricken or disregarded.” Id. (citation omitted) (cleaned

up). Additionally, “[i]t is well settled that parties to a motion for summary judgment cannot

create sham issues of fact in an effort to defeat summary judgment.” Bass v. City of Sioux Falls,

232 F.3d 615, 618 (8th Cir. 1999) (internal quotations omitted). This occurs when “a party’s

sudden and unexplained revision of testimony creates an issue of fact where none existed

before.” Wilson v. Westinghouse Elec. Corp., 838 F.2d 286, 289 (8th Cir .1988). But when,

upon review, “the testimonies are not inconsistent,” it would be error for the Court to disregard

them. Bass, 232 F.3d at 618.

       Finally, the Court notes that “[a] properly supported motion for summary judgment is not

defeated by self-serving affidavits.” Bacon v. Hennepin Cnty. Med. Ctr., 550 F.3d 711, 716 (8th

Cir. 2008) (internal quotations omitted). “Rather, the plaintiff must substantiate allegations with

sufficient probative evidence that would permit a finding in the plaintiff's favor.” Id. And, in

general, when an affidavit is properly based on the affiant’s personal knowledge, “[t]he self-




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Case: 4:22-cv-00140-MTS              Doc. #: 173 Filed: 10/18/24               Page: 10 of 45 PageID #:
                                               16895



serving nature of [his or her] statement bears on its credibility, not on its [admissibility].” Janny

v. Gamez, 8 F.4th 883, 900 (10th Cir. 2021). 11

        Accordingly, to the extent the Dobson, Johnson, or Cross Affidavits contain improper

material, the Court will not consider that material for purposes of Defendants’ Motion for

Summary Judgment. See, Hagen, 934 F. Supp. 2d at 1043.

        III.     Motion for Summary Judgment

        Defendants move for summary judgment on each of Plaintiffs’ twelve remaining counts.

They argue that Plaintiffs either fail to establish their claims or, regarding Plaintiffs’ claims

against the Individual Defendants, that each Defendant is entitled to qualified immunity.

Doc. [76]. The Court addresses each of the claims in turn.

                 A. Legal Standard

        1. Summary Judgment

        “A court must grant a motion for summary judgment if the moving party shows that there

are no genuine disputes of material fact and that it is entitled to judgment as a matter of law.”

Bedford v. Doe, 880 F.3d 993, 996 (8th Cir. 2018) (citing Fed. R. Civ. P. 56(a)). The movant

bears the initial burden of explaining the basis for its motion, and it must identify those portions

of the record that demonstrate the absence of a genuine issue of material fact. Torgerson v. City

of Rochester, 643 F. 3d 1031, 1042 (8th Cir. 2011) (en banc). The movant may satisfy its burden

11
   When a party fails to disclose, or timely supplement their disclosures, as required by Federal Rule of
Civil Procedure 26(a) or (e), “the party is not allowed to use that information or witness to supply
evidence on a motion, at a hearing, or at trial, unless the failure was substantially justified or is harmless.
Fed. R. Civ. P. 37(c)(1). “When fashioning a remedy . . . the district court should consider, inter alia, . . .
the surprise and prejudice to the opposing party, the extent to which allowing the information or
testimony would disrupt the order and efficiency of the trial, and the importance of the testimony.”
Petrone v. Werner Enterprises, Inc., 105 F.4th 1043, 1057 (8th Cir. 2024). The Dobson affidavit was
previously filed in a case in which Defendant St. Louis County was a party. In addition, the affidavit is
merely a summary of material that is already a part of the record. Therefore, the Court finds that the
affidavit presents no real danger of surprise or prejudice to the Defendants, and the Court will not exclude
the Dobson affidavit on the basis of Rule 37(c)(1).
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Case: 4:22-cv-00140-MTS          Doc. #: 173 Filed: 10/18/24           Page: 11 of 45 PageID #:
                                           16896



in one of two ways. The movant may either produce evidence negating an essential element of

the non-moving party’s case, or it may show the non-moving party—the Plaintiff—does not have

enough evidence of an essential element of its claims to carry the ultimate burden of persuasion

at trial. Bedford, 880 F.3d at 996; accord Fed. R. Civ. P. 56(c)(1).

       Once the movant has established a right to judgment as a matter of law, the non-movant

must demonstrate that one or more of the material facts asserted by the movant as not in dispute

is, in fact, genuinely disputed. “Mere allegations, unsupported by specific facts or evidence

beyond the nonmoving party’s own conclusions, are insufficient to withstand a motion for

summary judgment.” Thomas v. Corwin, 483 F.3d 516, 526–27 (8th Cir. 2007); see also

Anderson v. Liberty Lobby, Inc., 447 U.S. 242, 252 (1986) (“The mere existence of a scintilla of

evidence in support of the plaintiff’s position will be insufficient; there must be evidence on

which the jury could reasonably find for the plaintiff.”). If the nonmoving party fails to make a

sufficient showing on an essential element of his or her case with respect to which he or she has

the burden of proof, the moving party is “entitled to judgment as a matter of law.” Celotex Corp.

v. Catrett, 477 U.S. 317, 323 (1986). The court views any factual disputes in the light most

favorable to the nonmoving party. Scott v. Harris, 550 U.S. 372, 380 (2007).

       2. Qualified Immunity

       Under qualified immunity, “government officials performing discretionary functions

generally are shielded from liability for civil damages insofar as their conduct does not violate

clearly established statutory or constitutional rights of which a reasonable person would have

known.” Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982).            Thus, “officers are entitled to

qualified immunity under § 1983 unless (1) they violated a federal statutory or constitutional

right, and (2) the unlawfulness of their conduct was clearly established at the time.” District of


                                                11
Case: 4:22-cv-00140-MTS          Doc. #: 173 Filed: 10/18/24          Page: 12 of 45 PageID #:
                                           16897



Columbia v. Wesby, 583 U.S. 48, 62–63 (2018) (citation and internal quotation marks omitted).

To be clearly established, the law at the time of the officer’s conduct must be “sufficiently clear

that every reasonable official would understand that what he is doing is unlawful.” Id. (citing

Ashcroft v. al-Kidd, 563 U.S. 731, 741 (2011) (internal quotation marks omitted). “The plaintiff

has the burden to prove that a right was clearly established at the time of the alleged violation.”

Graham v. Barnette, 5 F.4th 872, 887 (8th Cir. 2021). To meet this burden, Plaintiff must “point

to existing circuit precedent that involves sufficiently similar facts to squarely govern the

officer[’s] conduct in the specific circumstances at issue.” Id. “The dispositive question is

whether the violative nature of particular conduct is clearly established.” Mullenix v. Luna, 577

U.S. 7, 12 (2015) (per curiam) (internal quotation marks omitted).

               B. Discussion

       1. Fourteenth Amendment: Deprivation of Due Process (Counts VIII, X, XII)

       The Court first addresses Plaintiffs’ Fourteenth Amendment claims against the Individual

Defendants. Specifically, Plaintiff and co-Plaintiffs B.M.S. and B.D.S. each bring a claim that

Officers Rinck, Fingers, Klein, and Ellis (“Defendant Officers”) violated their substantive due

process rights when they removed B.M.S. and B.D.S. from their home “without legal

justification and/or due process.” Doc. [19]. Defendants argue they are entitled to summary

judgment because Plaintiffs have failed to sufficiently establish these claims. Doc. [76] ¶ 6d.

Alternatively, Defendants assert the affirmative defense of qualified immunity. Id.

       To state a claim under 42 U.S.C. § 1983, Plaintiffs must show, in part, that Defendants

deprived them of a federally protected right. See West v. Atkins, 487 U.S. 42, 48 (1988). The

Fourteenth Amendment provides that no state shall “deprive any person of life, liberty, or

property, without due process of the law.” U.S. Const. amend. XIV § 1. As it relates to children,


                                               12
Case: 4:22-cv-00140-MTS           Doc. #: 173 Filed: 10/18/24            Page: 13 of 45 PageID #:
                                            16898



the U.S. Court of Appeals for the Eighth Circuit recognizes that parents have a liberty interest in

the “care, custody, and management of their children.” See Manzano v. S.D. Dep’t. of Soc.

Servs., 60 F.3d 505, 509 (8th Cir. 1995). Moreover, “[b]oth parents and children have a liberty

interest in the care and companionship of each other.” Whisman v. Rinehart, 119 F.3d 1303,

1309 (8th Cir. 1997) (citing Lehr v. Robertson, 463 U.S. 248, 258 (1983)). However, this right is

not absolute; rather, “the liberty interest in familial relations is limited by the compelling

government interest in the protection of minor children,” especially where the protection is

necessary against the parents, themselves. See Manzano, 60 F.3d at 510 (quoting Myers v.

Morris, 810 F.2d 1437, 1462 (8th Cir. 1987), abrogated on other grounds by Burns v. Reed, 500

U.S. 478 (1991)). The constitutional inquiry is thus “a balancing test which weighs the interest

of the parent against the interests of the child and the state . . . .” Manzano, 60 F.3d at 510.

       “To balance these competing interests, [the Eighth Circuit has] adopted the rule ‘that

when a state official pursuing a child-abuse investigation takes an action which would otherwise

unconstitutionally disrupt familial integrity, he or she is entitled to qualified immunity, if such

action is properly founded upon a reasonable suspicion of child abuse.’” Stanley v. Hutchinson

(“Stanley I”), 899 F.3d 623, 627 (8th Cir. 2018) (quoting Swipies v. Kofka, 348 F.3d 701, 703

(8th Cir. 2003)). That is, “the officials’ actions must have been based on a reasonable suspicion

of abuse and must not have been disproportionate under the circumstances.” Abdouch v. Burger,

426 F.3d 982, 987 (8th Cir. 2005); see also Mitchell v. Dakota Cnty. Soc. Servs., 959 F.3d 887,

901 (8th Cir. 2020) (“The question is whether the defendants’ actions and the disruption to the

plaintiffs’ familial relations were disproportionate under the circumstances.” (citing K.D. v.

County of Crow Wing, 434 F.3d 1051, 1056 (8th Cir. 2006))). A decision to remove a child that

is not predicated on reasonable suspicion “constitutes an arbitrary abuse of government power,”


                                                 13
Case: 4:22-cv-00140-MTS           Doc. #: 173 Filed: 10/18/24          Page: 14 of 45 PageID #:
                                            16899



Stanley v. Finnegan (“Stanley II”), 447 F. Supp. 3d 771, 782 (W.D. Ark. 2020) (citing Croft v.

Westmoreland Cnty. Child. & Youth Servs., 103 F.3d 1123, 1125–26 (3d Cir. 1997)), which in

turn violates due process, see Mitchell, 959 F.3d at 898 (citing Folkerts v. City of Waverly, 707

F.3d 975, 980 (8th Cir. 2013)).

       Courts look at the totality of the circumstances when assessing whether there is a

reasonable suspicion of child abuse, and reasonable suspicion must exist when the removal takes

place. Stanley v. Hutchinson (“Stanley III”), 12 F.4th 834, 840–41 (8th Cir. 2021). Even if the

balance between parental, child, and governmental interests reveals a constitutional violation,

“qualified immunity still applies unless the constitutional violation was so clear that an

objectively reasonable official would have recognized the disproportionality or lack of

reasonable suspicion.” Abdouch, 426 F.3d at 987. Moreover, the Eighth Circuit has recognized

that, for these types of claims, “it is nearly impossible to separate the constitutional violation

analysis from the clearly established right analysis” that qualified immunity requires. Manzano,

60 F.3d at 510.

       Viewing the evidence in a light most favorable to Plaintiffs, the Court finds that

Defendants Rinck, Fingers, Ellis, and Klein are entitled to qualified immunity on Counts VIII, X,

and XII because no constitutional violation occurred; that is, the officers’ removal of B.M.S. and

B.D.S. was based on a reasonable suspicion of child abuse, and their actions were proportional

under the circumstances. See Mitchell, 959 F.3d at 901 (finding no constitutional violation

where there was “sufficient reasonable suspicion to remove the children from their home”).

       Photographs of the Underhill property—taken on the day that the children were

removed—paint a troubling picture. Doc. [83-7]. Multiple living spaces are so filled with

storage, household objects, trash, and other debris that they are impassable. See id. at 12, 18, 31,


                                                14
Case: 4:22-cv-00140-MTS          Doc. #: 173 Filed: 10/18/24          Page: 15 of 45 PageID #:
                                           16900



and 43. The kitchen looks similarly cluttered and unsanitary given the accumulation of debris on

the floor and the presence of trash, food scraps, and other residue on the countertop and

appliances. Id. at 5. Brown liquid is seen leaking from plumbing fixtures and pooling in the

basement. Id. at 21, 28, 45, and 54. The water heater and furnace are dismantled, and wires

appear exposed. Id. at 21, 26, and 32. At least one child’s bed appears so cluttered with personal

items and other objects that it is unusable. Id. at 42 and 61. Under the totality of these

circumstances, a reasonable officer could suspect that B.M.S. and B.D.S. experienced neglect in

this environment and that their home presented a risk to their health and safety. See, e.g., In re

D.K.S., 106 S.W.3d 616, 617 (Mo. Ct. App. 2003) (describing protective custody of a child taken

after allegations of an unsafe and unsanitary home that had dirty clothing scattered throughout, a

roach infestation, and soiled mattresses).

       The next question is whether the decision to immediately remove B.M.S. and B.D.S.

from their home was proportional to the reasonable suspicion that the Defendant Officers

acquired under the circumstances. See Thomason v. SCAN Vol. Servs., Inc., 85 F.3d 1365, 1371–

72 (8th Cir. 1996) (“The difficulty . . . is not whether such a reasonable suspicion can be found,

but rather, whether the actions taken [were proportional].”). Plaintiffs argue that the removal

was improper because the Defendant Officers never communicated with B.M.S. or B.D.S. before

removing them; nor does it appear that the officers examined the children for signs of neglect.

Doc. [127] at 25. Moreover, Plaintiff asserts that she notified “everyone at the scene” that a

family member was on her way to the home to care for the children. Doc. [127-2] ¶¶ 12, 14; see

Whisman, 119 F.3d at 1310 (finding removal improper, in part, because a relative had agreed to

pick up the child before officers took custody). Taken together, Plaintiffs assert that the removal




                                                15
Case: 4:22-cv-00140-MTS          Doc. #: 173 Filed: 10/18/24            Page: 16 of 45 PageID #:
                                           16901



of B.M.S. and B.D.S. was disproportionate to the circumstances known to the Defendant

Officers at the time.

       These arguments are unavailing.          First, “[o]nce reasonable suspicion is present,

investigators are not obligated to investigate the matter fully before deciding to remove children

from the custody of their parents.” Stanley II, 447 F. Supp. 3d at 782 (W.D. Ark. 2020) (citing

Croft, 103 F.3d at 1125–26). This case is not like Stanley I, where, based on the allegations in

the complaint, the Eighth Circuit upheld the district court’s decision to withhold qualified

immunity from officers who initiated an investigation premised on “bizarre” accusations of child

abuse that “cried out for investigation and confirmation.” 899 F.3d at 628. Critically, those

officers decided to remove the plaintiffs’ children despite “plainly exculpatory evidence”

uncovered during that investigation. Id. Here, the Defendant Officers did not base their actions

on far-fetched allegations that needed follow-up; instead, they were confronted with what plainly

appeared to be an unhealthy and unsafe living environment, and thus, developed reasonable

suspicion that B.M.S. and B.D.S. faced ongoing and future harm. Once they manifested that

suspicion, the Defendant Officers were “not obligated to investigate the matter fully” before

removing the children from the very living conditions that raised their suspicion in the first place.

Stanley II, 447 F. Supp. 3d at 783.

       Second, under the circumstances, the Defendant Officers did not need to wait for a

relative before placing the children in protective custody. See K.D., 434 F.3d at 1057 (“[W]e

cannot fault [d]efendants for deciding to place [a child] in temporary foster care rather than with

his grandmother, a person unknown to social services.”). At or around the time the Defendant

Officers removed the children, Officer Ellis arrested both Plaintiff and Mr. Shigemura for child

endangerment. Doc. [128] ¶ 50. The Defendant Officers needed to exercise protective custody


                                                16
Case: 4:22-cv-00140-MTS           Doc. #: 173 Filed: 10/18/24           Page: 17 of 45 PageID #:
                                            16902



over the children because neither parent was—or soon would be—able to care for them once

under arrest. Further, there is no evidence indicating that the Defendant Officers knew the

relative in question or whether she would be able to adequately care for B.M.S. or B.D.S. The

record shows that the children were placed and held in foster care for five days before a June 13,

2017, Family Court hearing, and the commissioner adopted the recommendation of the

Children’s Division to retain custody over B.M.S. and B.D.S. at that proceeding. Doc. [128] ¶

104; Doc. [91-5] at 4. Under these circumstances, the Defendant Officer’s “intrusion into the

familial relationship was not so disproportionate to the potential risk to [the children]’s well-

being as to rise to the level of a constitutional violation.” K.D., 434 F.3d at 1057.

       Plaintiffs raise additional arguments as to Officer Rinck and assert that this Court should

not grant summary judgment in his favor because his actions were based on an improper motive:

either vindictiveness and anger over Plaintiff’s refusal to consent to the search of her home or a

generalized desire to get certain people “out of the neighborhood.” Doc. [127] at 25; Doc. [127-

14] ¶ 7. Even assuming Officer Rinck’s subjective motives are properly supported in the record,

these arguments are misplaced. In this context, an officer is entitled to qualified immunity

unless, under the circumstances, an “objectively reasonable official would have recognized the

disproportionality or lack of reasonable suspicion.” Abdouch, 426 F.3d at 987 (emphasis added).

And this makes sense because the reasonable suspicion that officers must have before removing

a child “is properly framed by cases establishing the Fourth Amendment standard that applies to

police officers and investigators in making arrests and other seizures.” Stanley I, 899 F.3d at

628. In the Fourth Amendment context, an officer’s subjective intentions do not play a role in

either the probable-cause or reasonable-suspicion analysis. See Whren v. United States, 517 U.S.

806, 813 (1996).     Because, as explained above, the removal of B.M.S. and B.D.S. was a


                                                 17
Case: 4:22-cv-00140-MTS           Doc. #: 173 Filed: 10/18/24           Page: 18 of 45 PageID #:
                                            16903



proportional response to a reasonable suspicion of abuse, Officer Rinck is entitled to qualified

immunity just as Officers Klein, Ellis, and Fingers. Accordingly, the Court will grant

Defendants summary judgment on these counts.

       2. Fourth Amendment Claims (Counts I, II, IV, IX, XI, XV)

       The Court next addresses Plaintiffs’ claims concerning Fourth Amendment violations.

Plaintiffs assert that: (1) Officer Rinck violated Plaintiff’s right against unreasonable searches

when he entered her home without her consent (Count I); (2) Chief Inspector Speight violated

Plaintiff’s right against unreasonable seizures when he authorized an immediate order to vacate

her home (Count XV); (3) Officer Rinck and Officer Fingers unreasonably seized Plaintiff’s

home when they forbade her from entering her home under threat of immediate arrest for a

period of three weeks (Counts II and IV); and Officers Ellis and Klein violated the Fourth

Amendment rights of co-Plaintiff’s B.M.S. and B.D.S. when those officers removed them from

their family and placed them into protective custody (Counts IX and XI). The Individual

Defendants move for summary judgment on each of these claims because Plaintiffs have either

failed to establish a violation of their rights under § 1983 or, even if a violation took place, the

named defendants did not cause the violation. Doc. [76] ¶¶ 6a–c, e. Alternatively, the Individual

Defendants assert qualified immunity on each claim. Id. ¶ 6j.

       As relevant to each of these claims, the Fourth Amendment guarantees that “[t]he right of

the people to be secure in their persons, houses, papers, and effects, against unreasonable

searches and seizures, shall not be violated . . . .” U.S. Const. amend. IV.

               a. Unlawful Search against Officer Rinck (Count I)

       “The Fourth Amendment generally prohibits police from entering a home without a

warrant unless the circumstances fit an established exception to the warrant requirement.”


                                                 18
Case: 4:22-cv-00140-MTS          Doc. #: 173 Filed: 10/18/24            Page: 19 of 45 PageID #:
                                           16904



United States v. Varner, 481 F.3d 569, 571 (8th Cir. 2007). One such exception to the warrant

requirement is consent, and “[a]n individual may validly consent to an otherwise impermissible

search if, in the totality of the circumstances, consent is freely and voluntarily given, and not the

product of implicit or explicit coercion.” United States v. Rambo, 789 F.2d 1289, 1296 (8th Cir.

1986) (citing Schneckloth v. Bustamonte, 412 U.S. 218, 226-27 (1973)).                Although the

government bears the burden of showing consent was freely and voluntarily given in criminal

cases, see United States v. Sanders, 424 F.3d 768, 773 (8th Cir. 2005) (citation omitted), in

§ 1983 civil actions, the plaintiff bears “the burden of proving that [he or she] did not knowingly

and voluntarily consent to [an officer’s] entrance into the home.” Der v. Connolly, 666 F.3d

1120, 1129 (8th Cir. 2012).

       When determining whether consent was freely and voluntarily given, courts generally

consider several factors specific to the individual who allegedly gave consent; these include: (1)

the age and general intelligence and education of the individual, (2) whether the individual was

under the influence of drugs or alcohol, (3) whether the individual was informed of her Miranda

rights, and (4) whether she had experienced prior arrests and was thus aware of the protections

the legal system affords suspected criminals. Sanders, 424 F.3d at 773 (citing Untied States v.

Chaidez, 906 F.2d 377, 381 (8th Cir. 1990)). Additionally, courts consider certain external

factors, including: (1) the length of time the individual was detained, (2) whether the police

threatened, physically intimidated, or punished the suspect, (3) whether the police made

promises or misrepresentations, (4) whether the suspect was in custody or under arrest at the time

of consent, (5) whether the consent occurred in a public or secluded place, and (6) whether the

suspect stood by silently as the search occurred. United States v. Smith, 260 F.3d 922, 924 (8th

Cir. 2001). No single factor is dispositive or controlling, and the factors shall not be applied


                                                19
Case: 4:22-cv-00140-MTS           Doc. #: 173 Filed: 10/18/24            Page: 20 of 45 PageID #:
                                            16905



mechanically. United States v. Bradley, 234 F.3d 363, 366 (8th Cir. 2000). Whether consent

was voluntarily given is a question of fact. See Der, 666 F.3d at 1129 (affirming the jury

instruction placing the burden to prove voluntary consent on the plaintiff).

       Defendants argue that this Court should grant Officer Rinck summary judgment on Count

I because, based on the above factors, Plaintiff gave him free and voluntary consent to search her

home. Doc. [76] ¶ 6b. However, viewing the evidence in a light most favorable to Plaintiff, the

Court finds that there is a genuine dispute of fact as to whether Plaintiff’s eventual consent was

uncoerced. Plaintiff states that she allowed Officer Rinck and Inspector Jones into her home

only after an hour-long, heated exchange on her property—at times surrounded by at least four

police officers—during which she repeatedly denied the officers entry into her home. Doc. [84-

4] at 51, 57–58, 67; Doc. [127-2] ¶ 5. She permitted Officer Rinck and other officials inside only

after Officer Rinck made various threats, culminating in an explicit ultimatum that, if Plaintiff

did not let him inside, she would never see her kids again. Doc. [84] at 58. Only then did

Plaintiff relent, saying, “I guess I don’t have any other choice.” Id.

       The Court finds that, based on this record, a reasonable factfinder could conclude that

Plaintiff’s consent to search her home was involuntary. Defendants disagree and point to various

aspects of the June 8 incident which, they assert, demonstrate that Plaintiff’s consent was

voluntary, including that: (1) the incident took place in public and in broad daylight, Doc. [128]

¶ 15; (2) neither Plaintiff nor Mr. Shigemura were handcuffed when Officer Rinck and Inspector

Jones entered the home, Doc. [128] ¶ 15; (3) Plaintiff walked about the property while the

investigation was taking place, id.; (4) Plaintiff had one prior arrest when she was eighteen years

old and thus had a familiarity with law enforcement, Doc. [128] ¶ 9; (5) at the time of the

incident, Plaintiff was forty-two years old and had attended a few semesters at a community


                                                 20
Case: 4:22-cv-00140-MTS         Doc. #: 173 Filed: 10/18/24          Page: 21 of 45 PageID #:
                                          16906



college, Doc. [128] ¶ 19; and (6) Plaintiff was not intoxicated during the incident. Doc. [128]

¶ 21.

         By adding up these various factors, Defendants move this Court to find Plaintiff’s

consent voluntary as a matter of law. But doing so would require the type of impermissible,

“mechanical” application of the voluntariness factors that this Court cannot undertake. See

Bradley, 234 F.3d at 366. At bottom, the voluntariness factors help a court determine whether

“consent is freely and voluntarily given, and not the product of implicit or explicit coercion.”

Rambo, 789 F.2d at 1296. None of the various circumstances raised by Defendants subtract from

the record evidence that Plaintiff repeatedly refused officers entry into her home over the course

of an hour, and she gave in, saying “I guess I don’t have any other choice,” only after Officer

Rinck threatened that she would never see her children again. Doc. [83-4] at 58. Under such

circumstances, a reasonable factfinder could find that Plaintiff’s consent was involuntary and,

thus, Officer Rinck violated Plaintiff’s Fourth Amendment rights when he searched her home.

         Still, qualified immunity requires further analysis.    Having found a constitutional

violation for purposes of summary judgment, the next question is whether “the unlawfulness of

[Officer Rinck’s] conduct was clearly established at the time.” Wesby, 583 U.S. at 63. In other

words, the Court must determine whether “a reasonable official in [Officer Rinck]’s position

would have known that he was violating the constitution when he searched [Plaintiff’s] house . . .

in the particular circumstances.” Estate of Walker v. Wallace, 881 F.3d 1056, 1060 (8th Cir.

2018).

         The Court finds that a reasonable official would have known Officer Rinck’s conduct

was unlawful. At the time of the incident, it was clearly established that threatening a mother

with the removal of her children if she failed to cooperate with police constituted coercion that


                                               21
Case: 4:22-cv-00140-MTS          Doc. #: 173 Filed: 10/18/24           Page: 22 of 45 PageID #:
                                           16907



violates the Fourth Amendment. See Lynum v. Illinois, 372 U.S. 528, 534 (1963) (finding a

confession coerced when, surrounded by three officers, police threatened to take a woman’s

children away from her “if she did not cooperate”); see also Goings v. Chickasaw County, 523 F.

Supp. 2d 892, 912 (N.D. Iowa 2007) (“[A]n explicit threat to a suspect’s children usually renders

involuntary any purported subsequent consent.”); and see United States v. Tingle, 658 F.2d 1332,

1335–36 (9th Cir. 1981) (finding that officers were “patently coercive” when threatening a

mother that she would not see her child for a long time amidst warnings of a long prison term).

       Here, viewing the evidence in favor of Plaintiff, Officer Rinck used various tactics to

acquire Plaintiff’s consent during an hour-long exchange, including: (1) a generalized threat that

matters would become worse if Plaintiff made him get a warrant, Doc. [127-2] ¶ 6; (2) agreeing

not to take Plaintiff’s children if she consented to a search, id. ¶ 11; (3) acknowledging the

existence of outstanding traffic warrants and the possibility of arresting Plaintiff in front of her

children, Doc. [83-4] at 51; and (4) threatening that Plaintiff would never see her children again

if she did not comply, id. at 57–58. When Plaintiff acquiesced, saying “I guess I don’t have any

other choice,” id., a reasonable official in Officer Rinck’s position “would have known that he

was violating the constitution” when he commenced his search of Plaintiff’s home based on that

purported consent. See Wallace, 881 F.3d at 1060. Therefore, the Court will deny summary

judgment on Count I.

               b. Unlawful Seizure: Order to Vacate (Count XV)

       “To establish [an unlawful seizure] in a section 1983 action, the claimant must

demonstrate a seizure occurred and the seizure was unreasonable.” Moore v. Indehar, 514 F.3d

756, 759 (8th Cir. 2008) (quoting McCoy v. City of Monticello, 342 F.3d 842, 846 (8th Cir.

2003)). Under the Fourth Amendment, “[a] ‘seizure’ of property occurs when there is some


                                                22
Case: 4:22-cv-00140-MTS          Doc. #: 173 Filed: 10/18/24           Page: 23 of 45 PageID #:
                                           16908



meaningful interference with an individual’s possessory interests in that property.” United States

v. Jacobsen, 466 U.S. 109, 113 (1984). Issuing an order that compels a person to vacate his or

her home constitutes a “meaningful interference with an individual’s possessory interests in that

property” such that it is a seizure under the Fourth Amendment. Jacobsen, 466 U.S. at 113; see

also Gaetjens v. City of Loves Park, 4 F.4th 487, 492 (7th Cir. 2021) (finding that officials seized

a home when issuing a temporary eviction order).

       However, the Fourth Amendment does not prohibit all governmental seizures; instead,

only unreasonable seizures are forbidden. See Torres v. Madrid, 592 U.S. 306, 323 (2021).

When analyzing the reasonableness of a seizure, “[c]ourts ‘must balance the nature and quality

of the intrusion on the individual’s Fourth Amendment interests against the importance of the

governmental interests alleged to justify the intrusion.’” Seymour v. City of Des Moines, 519

F.3d 790, 796 (8th Cir. 2008) (quoting Untied States v. Place, 462 U.S. 696, 703 (1983)). The

Court is mindful that “when it comes to the Fourth Amendment, the home is the first among

equals. At the Amendment’s very core stands the right of a man to retreat into his own home and

there be free from unreasonable governmental intrusion.” Florida v. Jardines, 569 U.S. 1, 6

(2013) (citation and internal quotation marks omitted). But municipalities have a strong interest

in maintaining public health and safety through the enforcement of their building ordinances.

See Freeman v. City of Dallas, 242 F.3d 642, 652 (5th Cir. 2001) (citing Goldblatt v. Town of

Hempstead, 369 U.S. 590, 594–95 (1962)) (“Regulation of nuisance properties is at the heart of

the municipal police power.”). Indeed, “[p]rotection of the health and safety of the public is a

paramount governmental interest . . . .” Hodel v. Va. Surface Mining & Reclamation Ass’n., 452

U.S. 264, 300 (1981).




                                                23
Case: 4:22-cv-00140-MTS          Doc. #: 173 Filed: 10/18/24           Page: 24 of 45 PageID #:
                                           16909



       The proper balance of these opposing governmental and private interests is illustrated by

the exigent-circumstances exception to Fourth Amendment’s warrant requirement. Although

“[s]earches and seizures inside a home without a warrant are presumptively unreasonable,”

Brigham City v. Stuart, 547 U.S. 398, 403 (2006) (quoting Groh v. Ramirez, 540 U.S. 551, 559

(2004)), “[a]n exception to the warrant requirement applies when the exigencies of the situation

make the needs of law enforcement so compelling that a warrantless search [or seizure] is

objectively reasonable under the Fourth Amendment.” Kentucky v. King, 563 U.S. 452, 460

(2011) (citation and internal quotation marks omitted). After all, “[t]he need to protect or

preserve life or avoid serious injury is justification for what would be otherwise illegal absent an

exigency or emergency.” Mincey v. Arizona, 437 U.S. 385, 392 (1978) (quoting Wayne v. United

States, 314 F.2d 205, 212 (D.C. Cir. 1963) (Burger, J.))

        “Exigent circumstances exist where [officers] have a legitimate concern for themselves

or others . . . [and] the analysis . . . is an objective one focusing on what a reasonable,

experienced [officer] would believe.” United States v. Kuenstler, 325 F.3d 1015, 1021 (8th Cir.

2003) (internal quotations omitted).      Thus, the warrantless seizure of a home through a

condemnation order or abatement proceeding is permissible under the Fourth Amendment when

the seizure is supported by an objectively reasonable belief that the property poses a “safety

threat” that requires immediate action. See Gaetjens, 4 F.4th at 494–95 (first citing Wonsey v.

City of Chicago, 940 F.3d 394, 398–401 (7th Cir. 2019); then citing Flatford v. City of Monroe,

17 F.3d 162, 170–71 (6th Cir. 1994)) (finding no Fourth Amendment violation when, in response

to noxious odors inside a home, officers issued a condemnation order without a warrant).

       St. Louis County furthers its governmental interests through an ordinance that authorizes

building officials to issue an immediate order to vacate a structure when it poses an “imminent


                                                24
Case: 4:22-cv-00140-MTS           Doc. #: 173 Filed: 10/18/24            Page: 25 of 45 PageID #:
                                            16910



danger.” 12 As relevant here, a building constitutes an imminent danger “[w]hen, in the opinion

of the code official . . . there is actual or potential danger to the building occupants . . . because

of . . . operation of defective or dangerous equipment.” St. Louis County, Mo., Rev. Ordinances,

title XI, ch. 1110.109.1 (2017). Once that finding is made, “the code official is . . . authorized

and empowered to order and require the occupants to vacate the premises forthwith.” Id. Thus,

according to the ordinance, immediate evictions can take place only after exigent circumstances

have been found; that is, the order cannot issue until a code official has determined that the

building presents a danger to its occupants. The issue, therefore, is whether a reasonable official

“could conclude that [Plaintiff and her family] might be imminently endangered” by the

condition of their home. See Flatford, 17 F.3d 167, (5th Cir. 1994) (finding that an eviction,

undertaken through an ordinance authorizing immediate eviction from premises found to be

“immediately dangerous,” fell within the exigency exception to both the Fourth and Fourteenth

Amendments because of the building’s dilapidated state).

       Viewing the evidence in Plaintiff’s favor, a reasonable official could have concluded that

Plaintiff’s home constituted an imminent threat. The order to vacate designates Plaintiff’s home

as an “Imminent Danger” under “Violation 2 1110.109.1.” Doc. [83-10]. That section repeats

the ordinance language quoted above and states the following to substantiate its determination:

“[c]urrently the home has plumbing leaks of raw sewage, dismantled water heater, furnace and




12
  By 2017, St. Louis County had adopted the ICC International Property Maintenance Code, edition
2009, (“IPMC”) as its own property maintenance code. St. Louis County, Mo., Rev. Ordinances, title XI,
ch. 1110.30. Thus, the seven building code violations identified in the order to vacate, Doc. [83-10],
correspond to the section headings and subheadings enumerated in the IPMC. Compare Int’l Prop.
Maint. Code, ch. 1, § 108.1.3, with Doc. [83-10] (describing, for example, a “structure unfit for human
occupancy” under Violation 1 1110.108.1.3 with language identical to the IPMC § 108.1.3).
                                                 25
Case: 4:22-cv-00140-MTS            Doc. #: 173 Filed: 10/18/24              Page: 26 of 45 PageID #:
                                             16911



electric panel, all of which constitute imminent dangers.” Id. 13           In other words, the order

describes the “operation of defective or dangerous equipment” which, in turn, reasonably

presents an “actual or potential danger to the building occupants.” See St. Louis County, Mo.,

Rev. Ordinances, title XI, ch. 1110.109.1 (2017).

        Photographs of the property corroborate the existence of these conditions. See Doc. [83-

7] at 21, 26, 28, 32, 45, and 54; cf. Scott v. Tempelmeyer, 897 F.3d 1067, 1072 (8th Cir. 2017)

(describing a condemnation order issued based on photographs showing “insanitary conditions,

filth, and contamination” as well as safety hazards, including improper maintenance of

mechanical, electrical, and plumbing systems). Issuing the immediate order to vacate was

therefore reasonable and the resulting seizure was likewise valid under the Fourth Amendment

because the state of Plaintiff’s property provided “a reasonable basis on which to conclude that

the home posed an immediate danger to its occupants.” Gaetjens, 4 F.4th at 494 (citing Flatford,

17 F.3d at 171).

        But Plaintiff still challenges Chief Inspector Speight’s approval of the immediate order

and argues that the resulting seizure of her home is unreasonable because his authorization was a

mere rubberstamp, administered without ascertaining whether Plaintiff’s property constituted an

imminent danger. Doc. [19] ¶ 84. Even assuming such circumstances would render the seizure

of Plaintiff’s home unreasonable under the Fourth Amendment given the objective exigent-

circumstances standard described above, see Kuenstler, 325 F.3d at 1021, the evidence in the

record does not support Plaintiff’s allegation.          See Thomas, 483 F.3d at 526–27 (“Mere

allegations, unsupported by specific facts or evidence beyond the nonmoving party’s own

conclusions, are insufficient to withstand a motion for summary judgment.”).

13
  The order to vacate also describes an appeal process that gives the recipient thirty days to object and
assert a “claim that [the] notice of violation improperly interprets the property maintenance code . . . or
that the provisions of the property maintenance code [do] not apply.” Doc. [83-10].
                                                   26
Case: 4:22-cv-00140-MTS          Doc. #: 173 Filed: 10/18/24           Page: 27 of 45 PageID #:
                                           16912



       It is undisputed that Chief Inspector Speight authorized the order at issue; the only

dispute is whether his approval came after due consideration. Doc. [128] ¶ 48 and Response.

Inspector Jones testified that, to issue an order to vacate, he would compile data along with

photographs of the violations he found and “send that up” to Chief Inspector Speight for

approval either by email or phone call. Doc. [127-13] at 24–26. Chief Inspector Speight recalls

receiving an email regarding Plaintiff’s property, Doc. [128-2] at 72, viewing photographs of the

property, id. at 70, and discussing the property over the phone, id. at 69. Lastly, an email sent

from Officer Rinck to Chief Inspector Speight and other public works officials on June 8, 2017,

attaches a copy of the order to vacate and dozens of photographs of the Underhill property. Doc.

[145-1]. Plaintiff has put forth no evidence from which a reasonable factfinder could conclude

that Chief Inspector Speight issued the order to vacate without ascertaining the conditions of the

home. Therefore, neither the order to vacate nor Chief Inspector Speight’s approval of the order

is unconstitutionally unreasonable.      Accordingly, the Court grants Defendants summary

judgment on this claim.

               c. Unlawful Seizure: Prohibiting Entry to the Home (Counts II and IV)

       Again, a Fourth-Amendment seizure of property occurs “when there is some meaningful

interference with an individual’s possessory interests in that property.” Jacobsen, 466 U.S. at

113. When Officers Fingers and Rinck ordered, under threat of arrest, that Plaintiff’s home was

indefinitely “sealed” until Plaintiff would permit crime-scene investigators inside to photograph

the property, see Doc. [172-2] ¶ 22–26; Doc. [128] ¶ 92, they asserted “dominion and control

over [Plaintiff’s] home . . . as part of their investigation into [alleged child endangerment]” such




                                                27
Case: 4:22-cv-00140-MTS            Doc. #: 173 Filed: 10/18/24              Page: 28 of 45 PageID #:
                                             16913



that a seizure took place. 14 See United States v. Shrum, 908 F.3d 1219, 1229 (10th Cir. 2018)

(citing Jacobsen, 466 U.S. at 120, 120 n.18) (finding a Fourth Amendment seizure when officers

secured a home to investigate a death); see also Segura v. United States, 468 U.S. 796, 811

(1984) (plurality) (explaining that a perimeter stakeout of a home interferes with the possessory

interests of its owners); and see Audio Odyssey, Ltd. v. Brenton First Nat’l. Bank, 245 F.3d 721,

735–36 (8th Cir 2001) (holding that excluding owners from commercial property constituted a

Fourth Amendment seizure), aff’d on reh’g, 286 F.3d 498 (8th Cir. 2002).

        However, even if a governmental seizure takes place, there is no constitutional violation

if that seizure is reasonable. See United States. v. Castellanos, 518 F.3d 965, 969 (8th Cir. 2008)

(explaining that Fourth Amendment challenges are reviewed for reasonableness). The Supreme

Court has held that police officers can, consistent with the Fourth Amendment, restrict access to

a home when they have probable cause to believe the seizure is necessary to preserve evidence of

a crime, but only for a reasonable period “while the police diligently obtain[] a warrant.” Illinois

v. McArthur, 531 U.S. 326, 334 (2001). In other words, the duration of such a seizure cannot be

indefinite. See United States v. Mays, 993 F.3d 607, 616 (8th Cir. 2021) (quoting Segura, 468

U.S. 796 at 812 (plurality)) (“A seizure reasonable at its inception . . . may become unreasonable

as a result of its duration.”). Indeed, “‘[t]he duration of [a] seizure pending the issuance of

search warrant must still be reasonable,’ and reasonableness ‘is measured in objective terms by

14
   Defendants’ arguments as to causation are unavailing. They assert that Officers Fingers and Rinck
cannot be held responsible for the seizure of Plaintiff’s home under § 1983 because the directive
prohibiting Plaintiffs from entering their home came from elsewhere and they “were merely passing that
information along.” Doc. [79-1] at 13–14. True, a successful § 1983 claim requires “a causal link to, and
direct responsibility for, the deprivation of rights,” Madewell v. Roberts, 909 F.2d 1203, 1208 (8th Cir.
1990), but this means that “defendants must be individually involved in the unconstitutional act to be
liable under § 1983,” Quraishi v. St. Charles County, 986 F.3d 831, 837 (8th Cir. 2021). Further, even if
the directive to “seal” Plaintiffs’ home came from another County official, an officer is not immune from
§ 1983 liability merely because “a superior instructs him to engage in unconstitutional conduct.” Id. It is
undisputed that Officer Fingers and Officer Rinck were involved in this deprivation; they were the ones
who gave Plaintiff the ultimatum forcing her to stay out of her house.
                                                   28
Case: 4:22-cv-00140-MTS          Doc. #: 173 Filed: 10/18/24            Page: 29 of 45 PageID #:
                                           16914



examining the totality of the circumstances.’” Id. at 616–17 (first quoting United States v.

Respress, 9 F.3d 483, 488 (6th Cir. 1993); then quoting United States v. Farnell, 701 F.3d 256,

261 (8th Cir. 2012)). Consistent in each of these cases is the principle that a seizure may be

reasonable when it is: (1) undertaken to maintain the evidentiary status quo while officers work

to acquire a warrant, and (2) the length of that seizure is itself reasonable under the

circumstances.

       The record here indicates that Officer Fingers and Officer Rinck had probable cause to

believe Plaintiff’s home contained evidence of a crime, namely the living conditions that

prompted Plaintiff’s arrest for child endangerment. See McArthur, 531 U.S. at 331–32. And

they may have reasonably believed that, if Plaintiff reentered the property to remedy those

conditions, as the order to vacate permitted her to do, see Doc. [83-10], evidence of that crime

would vanish. See McArthur, 531 U.S. at 332. But there is no indication that Officer Fingers

and Officer Rinck imposed this restriction while they sought a search warrant. Indeed, it does

not appear that they even planned to acquire—much less took concrete steps to acquire—a

search warrant that would permit investigators to enter and photograph the home after Plaintiff

and Mr. Shigemura refused to allow them inside. Cf. Mays, 993 F.3d at 617–18 (finding a

fifteen-day delay between seizing property and receiving a search warrant was reasonable given

the diligence the officers displayed in securing the warrant amidst a particularly complex

criminal investigation). The Court therefore finds the length of Officer Fingers and Officer

Rinck’s indefinite seizure of Plaintiff’s home unreasonable under the circumstances and, thus, a

violation of the Fourth Amendment.

       However, there is still the matter of qualified immunity. It is not enough for Officer

Fingers and Officer Rinck to have violated Plaintiff’s constitutional rights. They are still entitled


                                                29
Case: 4:22-cv-00140-MTS            Doc. #: 173 Filed: 10/18/24           Page: 30 of 45 PageID #:
                                             16915



to summary judgment unless “the unlawfulness of their conduct was clearly established at the

time.” Wesby, 583 U.S. at 63 (2018). This standard does not require “a case directly on point,

but existing law must have placed the constitutionality of the officer’s conduct beyond debate.”

al-Kidd, 563 U.S. at 741 (2011). “The precedent must be clear enough that every reasonable

official would interpret it to establish the particular rule the plaintiff seeks to apply.” Wesby, 583

U.S. at 63 (citation omitted). And clearly established law must not be defined “at a high level of

generality, since doing so avoids the crucial question whether the official acted reasonably in the

particular circumstances that he or she faced.” Id at 63–64 (internal quotations omitted). Instead,

“a high ‘degree of specificity’” is required. Id. at 63 (quoting Mullenix. v. Luna, 577 U.S. at 13).

It is Plaintiffs’ burden to demonstrate that the unlawfulness of Defendants’ conduct was clearly

established. See Kasiah v. Crowd Sys., Inc., 915 F.3d 1179, 1185 (8th Cir. 2019); see also

Monroe v. Ark. State Univ., 495 F.3d 591, 594 (8th Cir. 2007) (“[T]he plaintiff must demonstrate

that the law is clearly established.”).

        In short, Plaintiff has failed to direct the Court to precedent holding a seizure

unconstitutional “in the particular circumstances that [Officer Fingers and Officer Rinck] faced.”

Wesby, 583 at 63–64. Nor has the Court been able to locate any after undertaking its own search.

See Bell v. Neukirch, 979 F.3d 594, 613 (8th Cir. 2020) (Stras, J., concurring in part and

dissenting in part) (“The bottom line is that neither [plaintiff] nor the court has identified a single

precedent finding a Fourth Amendment violation under similar circumstances.”).                 This is

unsurprising because the seizure of Plaintiff’s home occurred amidst very peculiar

circumstances. At the time Officer Fingers warned Plaintiff to stay out of her home until crime-

scene investigators could photograph its interior, she and her domestic partner had been arrested

for child endangerment, and the property was under a condemnation order for various building


                                                 30
Case: 4:22-cv-00140-MTS          Doc. #: 173 Filed: 10/18/24            Page: 31 of 45 PageID #:
                                           16916



code violations, including designations that the home was an “Imminent Danger” as well as a

“Structure unfit for human occupancy.” Doc. [83-10]. The Fourth Amendment implications

given these particular circumstances are admittedly complex.

        On the one hand, “even when a home can no longer be occupied, a person retains a

privacy interest in their property and the [Fourth Amendment] warrant requirement applies.”

Appel v. City of St. Louis, 4:05-cv-772-SNL, 2007 WL 9808053, at *7 (E.D. Mo. Aug. 15, 2007)

(collecting cases) (finding an objectively reasonable privacy interest in a damaged home that was

more than “mere ruins”). But on the other, “[w]hen a building has been condemned as unsafe for

human occupation, it becomes, at least from the government’s perspective, an abandoned

structure. Public health and safety require that police officers, as well as building inspectors,

have the right to access such structures at any time for a variety of reasons . . . . [including] for

the purpose of evicting occupants.” Cross v. Mokwa, 547 F.3d 890, 895–96 (8th Cir. 2008)

(finding exigent circumstances permitted officers to enter condemned homes without a warrant

to arrest illegal occupants).

        And while the Supreme Court has rejected a general “crime-scene exception” to the

Fourth Amendment warrant requirement, see Flippo v. West Virginia, 528 U.S. 11, 13–14

(1999), the Eighth Circuit has stated “we assume there is an adequate law enforcement reason for

seizing real property for a fairly long time to secure a crime scene,” Audio Odyssey, 245 F.3d at

736 n.16, such that a seizure under that circumstance would be constitutionally permissible. The

upshot is that, under the particular circumstances of a property that was simultaneously

condemned and a crime scene, the law was not so clearly established that “every reasonable

official” would know that Officer Fingers’ and Officer Rinck’s conduct was unlawful. See




                                                31
Case: 4:22-cv-00140-MTS          Doc. #: 173 Filed: 10/18/24          Page: 32 of 45 PageID #:
                                           16917



Wesby, 583 U.S. at 63. Therefore, the Court will grant Defendants qualified immunity on Counts

II and IV.

               d. Unlawful Seizure: Removal of B.M.S. and B.D.S. (Counts IX and XI)

       The final Fourth Amendment claims are brought by co-Plaintiffs B.M.S. and B.D.S.,

challenging their removal from their parents by Officer Klein and Officer Ellis. Doc. [19]

¶¶ 153, 164. The Eighth Circuit has held that “reasonable suspicion is the governing standard”

applied to a Fourth Amendment claim asserting that officers unreasonably removed a child from

their parents. Stanley III, 12 F.4th at 842 (“[The Eighth Circuit has] never held that children

have a Fourth Amendment right not to be separated from their parents absent probable cause to

believe the parents are guilty of child abuse.”). Having already found the removal of B.M.S. and

B.D.S. supported by reasonable suspicion above, the Court will grant Defendants Ellis and Klein

summary judgment on Counts IX and XI. See Welter v. Wilson, 5:23-cv-5034, 2024 WL

3183229, at *5 (W.D. Ark. June 26, 2024) (applying a reasonable-suspicion standard to a child’s

removal from their parents), appeal docketed, 24-2531 (8th Cir. July 23, 2024)

       3. Municipal Liability

       The Court now turns to Plaintiffs’ claims asserting municipal liability against St. Louis

County. They argue that the Defendant Officers violated Plaintiffs constitutional rights on June

8, 2017, “pursuant to a practice and custom that was so widespread and well-settled,” Doc. [19]

¶ 185, that it had “the effect and force of law” within St. Louis County (Count XIV). See Monell

v. Dep’t. of Soc. Servs. of N.Y.C., 436 U.S. 658, 691 (1978). They further assert that St. Louis

County knew that Defendant Rinck had a history of violating county residents’ constitutional

rights and that the “training, supervisory, and/or disciplinary policies were inadequate to prevent

Defendant Rinck from continuing to engage [in unconstitutional conduct].” Doc. [19] ¶ 176–77.


                                                32
Case: 4:22-cv-00140-MTS          Doc. #: 173 Filed: 10/18/24          Page: 33 of 45 PageID #:
                                           16918



As a result, the County’s “failures to act with respect to Defendants Rinck’s conduct was due to

deliberate indifference and was so closely related to [Defendant Rinck’s] violations of Ms.

Perry’s constitutional rights as to be considered a moving factor.” Id. ¶ 178. Defendants counter

that Plaintiffs have failed to establish either of these claims “because Plaintiffs cannot show

deliberate action attributable to the municipality directly caused a deprivation of their

constitutional rights.” Doc. 76 ¶ 6(g).

       As relevant to both Count XIII and Count XIV, a municipality cannot be held liable

“based solely on the vicarious liability theory of respondeat superior.”        Harris v. City of

Pagedale, 821 F.2d 499, 504 (8th Cir. 1987). That is, “a municipality cannot be held liable

solely because it employs a tortfeasor.” Monell, 436 U.S. at 691. Thus, “rigorous standards of

culpability and causation must be applied to ensure that the municipality is not held liable solely

for the actions of its employee.” S.M. v. Lincoln County, 874 F.3d 581, 585 (8th Cir. 2017)

(quoting Bd. of Cnty. Comm’rs v. Brown, 520 U.S. 397, 404–05 (1997)).              To that end, a

successful municipal liability claim first requires a constitutional injury caused by a municipal

employee. Webb v. City of Maplewood, 889 F.3d 483, 487 (8th Cir. 2018) (internal quotations

omitted).   Then the plaintiff must “demonstrate that, through its deliberate conduct, the

municipality was the moving force behind the [constitutional injury].” Brown, 520 U.S. at 404.

In other words, there must be “a direct causal link between a municipal policy or custom [or a

failure to train, supervise, or discipline] and the alleged constitutional deprivation.” City of

Canton v. Harris, 489 U.S. 378, 385 (1989).

       Here, for the purposes of summary judgment, the Court has found two violations of

Plaintiffs’ Fourth Amendment rights: (1) Officer Rinck’s search of Plaintiff’s home without her

voluntary consent, and (2) Officer Rinck and Officer Fingers’ indefinite seizure of Plaintiff’s


                                                33
Case: 4:22-cv-00140-MTS            Doc. #: 173 Filed: 10/18/24              Page: 34 of 45 PageID #:
                                             16919



home until such time that she and her domestic partner would allow crime-scene investigators

inside. 15 Thus, the question before the Court is whether Plaintiffs have submitted sufficient

evidence from which a reasonable factfinder could conclude that actions of St. Louis County—

that is, a properly supported municipal custom or a failure to train, supervise or discipline its

officers—were the moving force behind either of the two constitutional injuries identified above.

            a. Unconstitutional Custom (Count XIV)

        A municipal ‘custom’ is an unofficial practice that “may subject a municipality to

liability on the theory that the relevant practice is so widespread as to have the force of law.”

Brown, 520 U.S. at 404. As the Eighth Circuit has explained, a plaintiff asserting municipal

liability based on an unofficial custom by demonstrating:

         (1) the existence of a continuing, widespread, persistent pattern of
        unconstitutional misconduct by the governmental entity’s employees; (2)
        deliberate indifference to or tacit authorization of such conduct by the
        municipality’s policy-making officials after notice to the officials of the
        misconduct; and (3) that the plaintiff was injured by acts pursuant to the
        municipality’s custom, i.e., that the custom was the moving force behind the
        constitutional violation.”

Mick v. Raines, 883 F.3d 1075, 1079–80 (8th Cir. 2018) (citing Mettler, 165 F.3d at 1200).

“Deliberate indifference in this context ‘is a stringent standard of fault, requiring proof that a

municipal actor disregarded a known or obvious consequence of his action.’” S.M., 874 F.3d at

585 (quoting Brown, 520 U.S. at 410).

        To show a widespread pattern of misconduct, Plaintiffs direct the Court to various St.

Louis County Bureau of Professional Standards (“BPS”) complaints submitted against Officer

Rinck alleging, among other things, that he engaged in “oppressive exercise[s] of authority.” See,

e.g., Doc. [141-5] (under seal).       Between 2001 and 2017, County personnel records show

15
  It makes no difference that the Court granted Officer Rinck and Officer Fingers qualified immunity for
this seizure. “[B]efore a municipality can be held liable, there need not be a finding that a municipal
employee is liable in his or her individual capacity.” Webb, 889 F.3d at 487 (internal quotations omitted).
                                                   34
Case: 4:22-cv-00140-MTS            Doc. #: 173 Filed: 10/18/24            Page: 35 of 45 PageID #:
                                             16920



eighteen citizen complaints alleging that Officer Rinck acted oppressively in his dealings with

County residents. Id. These vary widely and range from allegations of excessive force to

complaints of rude behavior exhibited during police encounters. See, e.g., id. at 6–7. But four

additional complaints from 2014 to 2016 accuse Officer Rinck of harassment while acting on

behalf of the PPU. Id. at 8–10. And, most relevant to the unlawful search in this case, three

complaints accuse Officer Rinck of searching homes without permission. Id. at 6–8. In addition,

Captain Guy Means (“Capt. Means”), commander of the St. Louis County Police, First Precinct,

has testified to the existence of verbal complaints made against Rinck that alleged: “[t]here’s

things that he does to get in the residence, basically by just telling them that he’s going to light

them up or he’s going to cite them for this or that if he doesn’t get in there.” Doc. [127-3] at 84–

85. In addition, “[t]hey complained that he was oppressive to get in their houses.” Id. at 65.

        The Court notes that Officer Rinck was a defendant in a prior § 1983 action challenging

his conduct during a PPU investigation in 2014. Zorich v. St. Louis County, 4:17-cv-1522-PLC,

2018 WL 6621525, at *1 (E.D. Mo. Dec. 18, 2018). There, the court reviewed many of the same

BPS complaints alleging an “oppressive exercise of authority.” Id. at *29. The Zorich court

found one additional piece of evidence persuasive, namely that Officer Rinck was a defendant in

an additional § 1983 lawsuit in 2011—eventually settled—alleging, among other things, that

Officer Rinck forced his way into the plaintiff’s home after the plaintiff opened the door. Id. at

*30. 16 Additionally, after the plaintiff in Zorich submitted a complaint to St. Louis County

describing the events of her eventual lawsuit, she received a letter from BPS two days later

dismissing her complaint because investigators concluded that the officer’s use of force had been

proper. Id. By contrast, the Zorich court ultimately held that the same use of force violated


16
  The Court “may take judicial notice of judicial opinions and public records.” Stuzka v. McCarville, 420
F.3d 757, 760 n.2 (8th Cir. 2005).
                                                  35
Case: 4:22-cv-00140-MTS           Doc. #: 173 Filed: 10/18/24           Page: 36 of 45 PageID #:
                                            16921



clearly established law. See id. at *14, 21. The court denied St. Louis County’s motion for

summary judgment, stating: “based on the above evidence, a reasonable jury could find that

Defendant County had a custom of ignoring citizen complaints about Rinck . . . [because] [w]hile

[oppressive conduct] is a broad classification, it appears that the prior complaints involved

misconduct similar to the alleged unconstitutional actions in this case.” Id. at *30.

       Defendants argue that the various complaints cannot demonstrate a pattern of

unconstitutional misconduct because each complaint was investigated by BPS officials, and they

either exonerated Officer Rinck, determined that the complaints were unfounded, see, e.g., Doc.

[141-5] at 6, or reviewed the verbal complaints and decided they did not need to be pursued

further. Doc. [127-4] (“All complaints that come into [BPS] go through at least a preliminary

investigation.”). Although it is true that “the mere existence of previous citizens’ complaints

does not suffice to show a municipal custom of permitting or encouraging [unconstitutional

conduct],” Mettler v. Whitledge, 165 F.3d 1197, 1205 (8th Cir. 1999), “[e]vidence that a police

department failed to investigate previous incidents similar to the incident in question may

support a finding that a municipal custom exists.” Id.

       The record shows that BPS has never found a citizen complaint against Officer Rinck to

be meritorious, including a complaint describing PPU-related conduct that a federal court later

found to violate clearly established law, see Zorich, 2018 WL 6621525, at *14, 21. In addition,

verbal complaints describing the same conduct at issue here received, at most, a preliminary

review that went no further. On that basis, a reasonable factfinder could conclude that the BPS

investigations were inadequate or otherwise perfunctory. See Mettler, 165 F.3d at 1205 (refusing

to find municipal liability, in part, because plaintiff failed to produce evidence that investigations

into complaints were inadequate). Additionally, because several past complainants specifically


                                                 36
Case: 4:22-cv-00140-MTS          Doc. #: 173 Filed: 10/18/24          Page: 37 of 45 PageID #:
                                           16922



allege that Officer Rinck entered their homes without consent, a reasonable jury could find that

“Defendant County’s custom of inaction towards allegations of [such] ‘oppressive’ conduct was

the ‘moving force’ behind [the unlawful search of Plaintiff’s home].”          Zorich, 2018 WL

6621525, at *30; see also Rogers v. City of Little Rock, 152 F.3d 790, 798–99 (8th Cir. 1998)

(explaining that municipal liability can be found where “the city had a policy or custom of failing

to act upon similar complaints of unconstitutional misconduct,” and there is “some showing that

the complaints had merit”).

       But even if that evidence were not enough to establish a municipal custom, Plaintiffs

provide more. Mr. Cross, a former PPU inspector who regularly worked with Officer Rinck,

submits an affidavit stating that he repeatedly witnessed Officer Rinck use coercive tactics to

enter the homes of County residents. Doc. [127-14] ¶ 15. He states that it was a particularly

common tactic for Officer Rinck to “[leverage] property owners’ children against them.” Id.

¶ 16. “[Officer Rinck] would threaten to take the children or contact the Division of Family

Services if they did not consent to a search of their homes.” Id. Mr. Cross therefore describes a

“persistent pattern of misconduct” on the part of Officer Rinck. See Mick, 883 F.3d at 1079; see

also Watson v. Boyd, 447 F. Supp. 3d 924, 950 (E.D. Mo. 2020) (finding a municipal custom

based upon the misconduct of a single officer).

       Mr. Cross also asserts that he informed both Sergeant Rodriguez and Captain Means of

this behavior. Id.; Doc. [127-3] at 27. He describes seeing Officer Rinck return from meetings

with officials in the County Counselor’s office and the County Executive’s office with lists of

addresses for the PPU to either enforce on or investigate. Doc. [127-14] ¶¶ 6–7. Relatedly, as it

pertains to PPU search warrants and orders to vacate, Officer Rinck was “the only one that did

them for the north and the south ends [of the County].” Doc. [83-13] at 179. He also had a


                                                  37
Case: 4:22-cv-00140-MTS           Doc. #: 173 Filed: 10/18/24           Page: 38 of 45 PageID #:
                                            16923



reputation within the County; specifically, “if you wanted something done, he was known as the

enforcer. He would get it done . . . [h]e could find violations that maybe another inspector could

not find.” Id.

                 i. Municipal custom as applied to the Unlawful Search

       Viewing the above evidence in a light most favorable to Plaintiff, a reasonable jury could

find that St. Louis County officials tacitly authorized, or were deliberately indifferent to, Officer

Rinck’s widespread and persistent use of strong-arm tactics to further PPU enforcement activities

and investigations. Multiple verbal and written complaints as well as previous lawsuits have

alleged that Officer Rinck used coercive or aggressive tactics to enter people’s homes, a former

co-worker describes seeing such conduct repeatedly and informing police supervisors of that

conduct, and Officer Rinck allegedly received direction form officials in the County Executive

and County Counselor’s offices concerning PPU enforcement activities.

       Such evidence supports an inference that St. Louis County policymakers knew or should

have known about Officer Rinck’s misconduct and either permitted it or ignored it. And, given

the similarity of the tactics described by Mr. Cross and mentioned in complaints to those Officer

Rinck allegedly employed during the unlawful search of Plaintiff’s home, there is sufficient

evidence that the County’s custom was the “moving force” behind the unlawful search of

Plaintiff’s home.     See Harris, 821 F.2d at 507–08.        (finding municipal liability where a

municipal custom proximately caused plaintiff’s injury). Accordingly, the Court will deny

summary judgment on Count XIV as it relates to the unlawful search of Plaintiff’s home.

                 ii. Municipal custom as applied to the Unlawful Seizure

       The same cannot be said for Officer Rinck and Officer Fingers’ unlawful seizure. As

previously explained, once a plaintiff demonstrates the existence of a municipal custom, he or


                                                38
Case: 4:22-cv-00140-MTS             Doc. #: 173 Filed: 10/18/24              Page: 39 of 45 PageID #:
                                              16924



she must also have been “injured by acts pursuant to the governmental entity’s custom.” Jane

Doe v. Special Sch. Dist., 901 F.2d 642, 646 (8th Cir. 1990) (citing Harris, 821 F.2d at 504–07).

And in this context, “rigorous standards of culpability and causation must be applied.” S.M., 874

F.3d at 585 (citation omitted).

        Although the testimony of Mr. Cross, statements of other County officers, and the BPS

complaints support, for purposes of summary judgment, the existence of a St. Louis County

custom furthering Officer Rinck’s coercive tactics used during PPU investigations, none of that

evidence relates to blanket seizures of real property that occurred after a PPU investigation had

culminated in an order to vacate. Mr. Cross does not describe any seizures of real property

beyond the issuance of such orders. Nor do any of the BPS complaints cited by Plaintiff contain

allegations similar to the seizure here. In short, there is insufficient evidence in the record for a

reasonable jury to find that the custom described above proximately caused Officer Fingers and

Officer Rinck’s decision to “seal” Plaintiff’s home pending further crime-scene investigation. 17

Accordingly, the Court will grant Defendant St. Louis County summary judgment on Count XIV

as it pertains to the unlawful seizure of Plaintiffs’ home.

            b. Municipal Failure to Train, Supervise, and/or Discipline (Count XIII)

        As mentioned above, Plaintiff claims that “St. Louis County’s training, supervisory,

and/or disciplinary policies were inadequate to prevent Defendant Rinck from [violating her

constitutional rights].” Doc. [19] ¶ 177. Additionally, Plaintiff asserts that those policy failures

occurred due to the County’s deliberate indifference, and the failures proximately caused the


17
  If anything, the record indicates that this seizure was the type of “isolated incident” that, in general,
does not support a finding of municipal liability, absent other findings that are not present here. See
Szabla v. City of Brooklyn Park, 486 F.3d 385, 393 (8th Cir. 2007); see also Ulrich v. Pope County, 715
F.3d 1054, 1061 (8th Cir. 2013) (citing Wedemeier v. City of Baldwin, 931 F.2d 24, 26 (8th Cir. 1991))
(“Generally, an isolated incident of alleged police misconduct . . . cannot, as a matter of law, establish a
municipal policy or custom creating liability under § 1983.”).
                                                    39
Case: 4:22-cv-00140-MTS          Doc. #: 173 Filed: 10/18/24           Page: 40 of 45 PageID #:
                                           16925



Plaintiff’s constitutional deprivations.   Doc. [19] ¶ 178.   Because all three of these alleged

failures require substantially similar analyses, the Court addresses them together.

       The Eighth Circuit has explained that municipal failure to train and municipal failure to

supervise claims “ultimately require the same analysis.” Liebe v. Norton, 157 F.3d 574, 579 (8th

Cir. 1998). To hold the County liable, Plaintiff must “prove that the [County’s] failure to

supervise and train amounts to deliberate indifference to the rights of persons with whom

[Officer Rinck] came into contact.” Doe v. Fort Zumwalt R-II Sch. Dist., 920 F.3d 1184, 1189

(8th Cir. 2019).    “A pattern of similar constitutional violations is ordinarily necessary to

demonstrate deliberate indifference.” Id. (internal quotations and alterations omitted).

Alternatively, Plaintiff may show that “the need for more supervision or training was ‘so

obvious, and the inadequacy so likely to result in the violation of constitutional rights, that the

policymakers of the [County] can reasonably be said to have been deliberately indifferent to the

need.’” Id. (quoting Canton, 489 U.S. at 390). Similarly, to hold St. Louis County liable for its

failure to discipline, Plaintiff “must show that city officials had knowledge of prior incidents of

police misconduct and deliberately failed to take remedial action.” Andrews v. Fowler, 98 F.3d

1069, 1075 (8th Cir. 1996).

       Taken together, claims asserting a failure to train, discipline, or supervise are all analyzed

under a deliberate indifference standard. Compare S.M., 874 F.3d at 585 (applying a deliberate

indifference standard to both failure to train and failure to supervise claims), with Ware v.

Jackson County, 150 F.3d 873, 882–83 (8th Cir. 1998) (applying deliberate indifference in the

context of a failure to discipline); see Vineyard v. County of Murray, 990 F.2d 1207, 1211–12

(11th Cir. 1993) (citing Canton, 489 U.S. at 389) (resolving inadequate training, supervision, and

discipline claims together under a deliberate indifference standard). When such claims are made


                                                40
Case: 4:22-cv-00140-MTS          Doc. #: 173 Filed: 10/18/24           Page: 41 of 45 PageID #:
                                           16926



against a municipality rather than an official in his or her individual capacity, the standard for

deliberate indifference is an objective one, and liability “can be premised on obviousness or

constructive notice.” Fort Zumwalt, 920 F.3d at 1189. And that notice is generally demonstrated

by similar instances of past unconstitutional misconduct. Compare id. (“A pattern of similar

constitutional violations is ordinarily necessary to demonstrate deliberate indifference.”), with

Harris, 821 F.2d at 506 (imposing municipal liability for a failure to take remedial action where

officials had notice of a pattern of similar police misconduct, and that notice amounted to

deliberate indifference toward that misconduct). Lastly, “[t]he [County’s] failure to supervise or

train [or discipline] must be the moving force behind the constitutional violation. Id. (citing

Canton, 489 U.S. at 389); see Vineyard, 990 at 1213 (“[T]he proper inquiry [is], ‘Would the

injury have been avoided had the employee been trained and supervised and disciplined under a

program that was not deficient in the identified respects?’” (quoting Canton, 489 U.S. at 391)).

       Having already found, for purposes of summary judgment, sufficient evidence of a

pattern of similar constitutional violations that St. Louis County either authorized or deliberately

ignored above, the Court finds that a reasonable factfinder could conclude that such a pattern

“would alert the [County] that its training and supervision [and disciplinary policies] were

insufficient to prevent [Officer Rinck’s] conduct.”         Fort Zumwalt, 920 F.3d at 1190.

Additionally, because that pattern of misconduct closely resembles the coercive tactics Officer

Rinck used against Plaintiff to unlawfully search her home, there is a genuine dispute of material

fact as to whether the County’s insufficient training, supervision, and discipline was “the moving

force” behind the unlawful search. Id. at 1189. In other words, a reasonable jury could find that,

had the County responded to Officer Rinck’s pattern of misconduct with additional or different




                                                41
Case: 4:22-cv-00140-MTS          Doc. #: 173 Filed: 10/18/24          Page: 42 of 45 PageID #:
                                           16927



training, supervision, or disciplinary practices, the unlawful search of Plaintiff’s home would not

have occurred.

       However, once again, the Court finds the opposite regarding Officer Fingers and Officer

Rinck’s unlawful seizure of Plaintiff’s home pending further crime-scene investigation. There is

insufficient evidence in the record to show “a pattern of misconduct” or “prior incidents of police

misconduct” pertaining to such seizures that would put the County on constructive notice that it

needed to change its training, supervision, or disciplinary practices to prevent that seizure from

taking place. As such, there is no showing that the County was deliberately indifferent to this

misconduct. See id. at 1190 (finding no municipal liability where plaintiff failed to show “a

pattern of misconduct” alerting the municipality that its policies were inadequate). Accordingly,

the court will deny summary judgment on Count XIII but only as it pertains to Officer Rinck’s

unlawful search.

       To summarize further, the Court finds that Plaintiff has met her summary-judgment

burden as to her municipal liability claims (Counts XIV and XIII), but only to the extent that

Defendant St. Louis County’s custom or its failures to train, supervise, and discipline

proximately caused the unlawful search of her home.

       4. Failure to Train, Supervise, and/or Discipline against Speight (Count XVI)

       The Court next addresses Plaintiff’s claim against Chief Inspector Speight in his

individual capacity—as opposed to the municipal-liability claim above—asserting that he knew

of   Officer Rinck’s unconstitutional misconduct and, despite that knowledge, maintained

inadequate “training, supervisory, and/or disciplinary policies.” Doc. [19] ¶¶ 198–99. Moreover,

Plaintiff claims that those inadequate policies were a moving factor behind the constitutional

violations that Plaintiff suffered. Id. at ¶ 200. Defendants respond that this claim fails as a


                                                42
Case: 4:22-cv-00140-MTS           Doc. #: 173 Filed: 10/18/24           Page: 43 of 45 PageID #:
                                            16928



matter of law because Chief Inspector Speight was not a supervisor of Officer Rinck and,

therefore cannot be held liable on that basis. Doc. [76] ¶ 6(f). In the alternative, Defendants

assert qualified immunity. Id.

       “A supervisor may be liable under § 1983 if he (1) received notice of a pattern of

unconstitutional acts committed by a subordinate, and (2) was deliberately indifferent to or

authorized those acts.” Rogers v. King, 885 F.3d 1118, 1122 (8th Cir. 2018) (internal quotations

omitted). This is a “rigorous standard [that] requires proof that the supervisor had notice of a

pattern of conduct by the subordinate that violated a clearly established constitutional right.

Allegations of generalized notice are insufficient . . . [and the] other misconduct must be very

similar to the conduct giving rise to liability.” S.M. v. Krigbaum (“S.M. I”), 808 F.3d 335, 340

(8th Cir. 2015). Moreover, “when the issue is qualified immunity from individual liability for

failure to train or supervise, deliberate indifference is a subjective standard that requires personal

knowledge of the constitutional risk posed by inadequate supervision.” S.M. v. Lincoln County

(“S.M. II”), 874 F.3d 581, 585 (8th Cir. 2017).

       The Court will assume for the purposes of this order that Chief Inspector Speight is a

supervisor of Officer Rinck. It is undisputed that, as of June 8, 2017, Officer Rinck’s direct

supervisor was Sgt. Rodriguez, Doc. [145] ¶ 96, and although Chief Inspector Speight denies

having any supervisory authority over Officer Rinck, Doc. [128-2] at 129, other evidence in the

record indicates that he did have a supervisory role over Officer Rinck’s activities, at least as

they related PPU building inspections. See, e.g., Doc. [145-1] (an email from Officer Rinck to

Chief Inspector Speight containing findings from the investigation of the Underhill property).

Still, even if Chief Inspector Speight is a supervisor of Officer Rinck for purposes of § 1983,

Plaintiffs have put forth insufficient evidence to raise a genuine dispute of fact that Chief


                                                  43
Case: 4:22-cv-00140-MTS          Doc. #: 173 Filed: 10/18/24          Page: 44 of 45 PageID #:
                                           16929



Inspector Speight had actual notice of a “pattern of conduct by [Officer Rinck] that violated a

clearly established constitutional right.” S.M. I, 808 F.3d at 340.

       Plaintiff points to various portions of the record attempting to show that Chief Inspector

Speight had personal knowledge of Officer Rinck’s unconstitutional misconduct, but the record

simply does not indicate that Chief Inspector Speight had such knowledge. First, in his affidavit,

Mr. Cross states that “everyone, including Mr. Speight knew” about PPU-related misconduct on

the part of Officer Rinck, Doc. [127-4] ¶ 5, but such “allegations of generalized notice” are

insufficient here. See S.M. I, 808 F.3d 335 at 840. Although he testifies that he told Sgt.

Rodriguez and Capt. Means of Officer Rinck’s coercive tactics, id. at ¶ 16, he does not say that

he had the same conversation with Chief Inspector Speight. Rather, Mr. Cross states only that

“Mr. Speight never addressed any of the serious problems I raised about Rinck” to Sgt.

Rodriguez and Capt. Means. That may be true, but it does nothing to demonstrate that Chief

Inspector Speight personally knew of those serious problems.

       Next, Plaintiff points to Chief Inspector Speight’s testimony stating that he knew Officer

Rinck was “in trouble” with Sgt. Rodriguez and Capt. Means, see Doc. [128-2] at 106–09, but

there is no indication that he knew any details of why they might have been angry. She also cites

Sgt. Rodriguez’s testimony in which he states that he and Capt. Means met to discuss the

information that they received from Mr. Cross. Doc. [83-13] at 98–102. But, as he describes the

substance of that meeting, he mentions only issues relating to interpersonal workplace problems

between Mr. Cross and Officer Rinck. Id. at 101–02 (“For example, Mike Cross told me that

whenever he called in sick . . . [h]e had to call Rob Rinck first.”). At no point does Sgt.

Rodriguez mention coercive tactics used by Rinck or any other misconduct “that violated a

clearly established constitutional right.” See S.M. I, 808 F.3d at 840. That was the only time


                                                44
Case: 4:22-cv-00140-MTS          Doc. #: 173 Filed: 10/18/24           Page: 45 of 45 PageID #:
                                           16930



Sgt. Rodriguez and Capt. Means met with Chief Inspector Speight to discuss such issues. Doc.

[83-13] at 102 (Q. “Did you ever talk to Marcellus again about that, or was that the only

occasion? A. “I think that was the only occasion.”).

       Because Plaintiff has failed to put forth any evidence demonstrating that Chief Inspector

Speight “received notice of a pattern of unconstitutional acts committed by [Officer Rinck],”

Rogers, 885 F.3d at 1122, Plaintiff has failed to meet the “rigorous standard” that this claim

requires, S.M. I, 808 F.3d at 840. Accordingly, the Court will grant Defendant Chief Inspector

Speight summary judgment on Count XVI.

       IV.     Motion to Appoint Defendant Ad Litem

       Plaintiffs move to appoint a Defendant Ad Litem for Officer Ellis, now deceased.

Doc. [151]. Because the Court will grant summary judgment on all counts pertaining to Officer

Ellis, and he will no longer be a party, the Court will deny Plaintiffs’ Motion as moot.

                                      CONCLUSION

       IT IS HEREBY ORDERED that Defendants’ Motion for Summary Judgment, Doc.

[76], is GRANTED IN PART AND DENIED IN PART in accordance with this Memorandum

and Order.

       IT IS FURTHER ORDERED that Defendants’ Motion to Strike Plaintiffs’ Affidavits,

Doc. [143], is DENIED.

       IT IS FURTHER ORDERED that Plaintiffs’ Second Motion to Appoint an Attorney ad

Litem, Doc. [151], is DENIED as moot.

       Dated this 18th day of October 2024.



                                              MATTHEW T. SCHELP
                                              UNITED STATES DISTRICT JUDGE

                                                45
